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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

INNOVATIONS4FLOORING HOLDING,                         )
N.V.,                                                 )
                                                      )
                       Plaintiff,                     )
                                                      )   C.A. No. 19-927-MN
        v.                                            )
                                                      )
MOHAWK INDUSTRIES, INC.,                              )
                                                      )
                       Defendants.                    )


                                      [PROPOSED] SCHEDULING ORDER

             This                   day of                 , 20     , the Court having conducted an

initial Rule 16(b) scheduling conference pursuant to Local Rule 16.1(b), and the parties having

determined after discussion that the matter cannot be resolved at this juncture by settlement,

voluntary mediation, or binding arbitration;

             IT IS HEREBY ORDERED that:

             1.          Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard. Unless

otherwise agreed to by the parties, the parties shall make their initial disclosures pursuant to

Federal Rule of Civil Procedure 26(a)(l) within twenty-one (21) days of the date the Court enters this

Order. If they have not already done so, the parties are to review the Court’s Default Standard for

Discovery, Including Discovery of Electronically Stored Information (‘‘ESI”), which is posted at

http://www.ded.uscourts.gov (see Other Resources, Default Standard for Discovery) and is

incorporated herein by reference.

                  2.     Joinder of Other Parties and Amendment of Pleadings. All motions to join

other parties, and to amend or supplement the pleadings, shall be filed on or before March 23,

2020. Unless otherwise ordered by the Court, any motion to join a party or motion to amend the
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pleadings shall be made pursuant to the procedures set forth in Paragraphs 8(g) and 9.

             3.    Application to Court for Protective Order. Should counsel find it will be

necessary to apply to the Court for a protective order specifying terms and conditions for the

disclosure of confidential information, counsel should confer and attempt to reach an agreement

on a proposed form of order and submit it to the Court within ten (10) days from the date the

Court enters this Order. Should counsel be unable to reach an agreement on a proposed form of

order, counsel must follow the provisions of Paragraph 8(g) below.

            Any proposed protective order must include the following paragraph:

                   Other Proceedings. By entering this order and limiting the
                   disclosure of information in this case, the Court does not
                   intend to preclude another court from finding that information
                   may be relevant and subject to disclosure in another case. Any
                   person or party subject to this order who becomes subject to a
                   motion to disclose another party’s information designated
                   “confidential” [the parties should list any other level of
                   designation, such as “highly confidential,” which may be
                   provided for in the protective order] pursuant to this order shall
                   promptly notify that party of the motion so that the party may
                   have an opportunity to appear and be heard on whether that
                   information should be disclosed.

            4.     Papers Filed Under Seal. In accordance with section G of the Revised

Administrative Procedures Governing Filing and Service by Electronic Means, a redacted version

of any sealed document shall be filed electronically within seven (7) days of the filing of the sealed

document.

            5.     Courtesy Copies. The parties shall provide to the Court two (2) courtesy copies

of all briefs and any other document filed in support of any briefs (i.e., appendices, exhibits,

declarations, affidavits etc.). This provision also applies to papers filed under seal. All courtesy

copies shall be double-sided.




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          6.       ADR Process. This matter is referred to a magistrate judge to explore the

possibility of alternative dispute resolution.

           7.      Disclosures. Absent agreement among the parties, and approval of the Court:

                   (a)     By October 28, 2019, Plaintiff shall identify the accused product(s),

including accused methods and systems, and its damages model, as well as the asserted patent(s)

that the accused product(s) allegedly infringe(s). Plaintiff shall also produce the file history for

each asserted patent.

                   (b)     By December 3, 2019, Defendant shall produce core technical

documents related to the accused product(s), sufficient to show how the accused product(s) work(s),

including but not limited to non-publicly available operation manuals, product literature,

schematics, and specifications. Defendant shall also produce sales figures for the accused

product(s).

                   (c)     By January 7, 2020, Plaintiff shall produce an initial claim chart relating

each known accused product to the asserted claims each such product allegedly infringes.

                   (d)     By February 6, 2020, Defendant shall produce its initial invalidity

contentions for each asserted claim, as well as the known related invalidating references.

                   (e)     By October 21, 2020, Plaintiff shall provide final infringement

contentions.

                   (f)    By November 20, 2020, Defendant shall provide final invalidity

contentions.

              8.   Discovery. Unless otherwise ordered by the Court or agreed to by parties,

the limitations on discovery set forth in the Federal Rules shall be strictly observed.

                   (a)     Discovery Cut Off. All fact discovery in this case shall be initiated so



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   that it will be completed on or before November 20, 2020.

                   (b)     Document Production.         Document production shall be substantially

   complete by June 30, 2020.

                   (c)     Requests for Admission. A maximum of 25 requests for admission are

permitted for each side. Requests for admission served solely for purposes of authentication will

not count toward this limit.

                   (d)     Interrogatories.

                            i.     A maximum of 25 interrogatories, including contention

interrogatories, are permitted for each side.

                            ii.    The Court encourages the parties to serve and respond to

contention interrogatories early in the case. In the absence of agreement among the parties,

contention interrogatories, if filed, shall first be addressed by the party with the burden of proof. The

adequacy of all interrogatory answers shall be judged by the level of detail each party provides (i.e.,

the more detail a party provides, the more detail a party shall receive).

                  (e)      Depositions.
                           i.      Limitation on Hours for Deposition Discovery. Each side is

limited to a total of 70 hours of taking testimony by deposition upon oral examination. Fact

deposition of non-party and expert witnesses will not count toward this limit.

                           ii.     Location of Depositions.       Any party or representative (officer,

director, or managing agent) of a party filing a civil action in this district court must ordinarily be

required, upon request, to submit to a deposition at a place designated within this district.

Exceptions to this general rule may be made by order of the Court. A defendant who becomes a

counterclaimant, cross-claimant, or third-party plaintiff shall be considered as having filed an



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action in this Court for the purpose of this provision.

                  (f)     Disclosure of Expert Testimony.
                          i.      Expert Reports. For the party who has the initial burden of proof

on the subject matter, the initial Federal Rule of Civil Procedure 26(a)(2) disclosure of expert

testimony is due on or before December 21, 2020. The supplemental disclosure to contradict or

rebut evidence on the same matter identified by another party is due on or before February 3,

2021. Reply expert reports from the party with the initial burden of proof are due on or before

March 5, 2021. No other expert reports will be permitted without either the consent of all parties

or leave of the Court. Along with the submissions of the expert reports, the parties shall advise of

the dates and times of their experts’ availability for deposition. Expert discovery shall be

completed by April 5, 2021.

                          ii.      Expert Report Supplementation. The parties agree they will

permit expert declarations to be filed in connection with motions briefing (including case-

dispositive motions).

                          iii.     Objections to Expert Testimony. To the extent any objection to

expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it

shall be made by motion no later than the deadline for dispositive motions set forth herein, unless

otherwise ordered by the Court. Briefing on such motions is subject to the page limits set out in

connection with briefing of case dispositive motions.

           (g)    Discovery Matters and Disputes Relating to Protective Orders.
                          i.     Any discovery motion filed without first complying with the

following procedures will be denied without prejudice to renew pursuant to these procedures.

                          ii.    Should counsel find, after a reasonable effort pursuant to Local Rule


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7.1.1 that they are unable to resolve a discovery matter or a dispute relating to a protective order,

the parties involved in the discovery matter or protective order dispute shall contact the Court’s

Judicial Administrator to schedule an argument.

                           iii.   On a date to be set by separate order, generally not less four (4)

days prior to the conference, the party seeking relief shall file with the Court a letter, not to exceed

three (3) pages, outlining the issues in dispute and its position on those issues. On a date to be set

by separate order, but generally not less than three (3) days prior to t he conference, any party

opposing the application for relief may file a letter, not to exceed three (3) pages, outlining that

party's reasons for its opposition.

                           iv.    The parties shall provide to the Court two (2) courtesy copies of its

discovery letter and any other document filed in support of any letter (i.e., appendices, exhibits,

declarations, affidavits etc.). This provision also applies to papers filed under seal. All courtesy

copies shall be double-sided.

                           v.     Should the Court find further briefing necessary upon conclusion of

the conference, the Court will order it. Alternatively, the Court may choose to resolve the dispute

prior to the conference and will, in that event, cancel the conference.

           9.      Motions to Amend / Motions to Strike.

                   (a)     Any motion to amend (including a motion for leave to amend) a pleading

or any motion to strike any pleading or other document shall be made pursuant to the discovery

dispute procedure set forth in Paragraph 8(g), above.

                   (b)     Any such motion shall attach the proposed amended pleading as well as

a “redline” comparison to the prior pleading or attach the document to be stricken.

          10.      Technology Tutorials. Although technology tutorials are not required by the



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Court, they are appreciated and, if any party chooses to file such a tutorial, it shall be submitted on

or before the date that the Joint Claim Construction Brief is filed.

          11.       Claim Construction Issue Identification. On March 09, 2020, the parties shall

exchange a list of those claim term(s)/phrase(s) that they believe need construction and their

proposed claim construction of those term(s)/phrase(s). This document will not be filed with the

Court. Subsequent to exchanging that list, the parties will meet and confer to prepare a Joint

Claim Construction Chart to be submitted two weeks prior to service of the opening claim

construction brief. The parties’ Joint Claim Construction Chart should identify for the Court the

term(s)/phrase(s) of the claim(s) in issue, and should include each party’s proposed construction

of the disputed claim language with citation(s) only to the intrinsic evidence in support of their

respective proposed constructions. A copy of the patent(s) in issue as well as those portions of

the intrinsic record relied upon shall be submitted with this Joint Claim Construction Chart. In

this joint submission, the parties shall not provide argument.

                12. Claim Construction Briefing. The Plaintiff shall serve, but not file, its opening

brief, not to exceed 20 pages, on April 08, 2020. The Defendant shall serve, but not file, its

answering brief, not to exceed 30 pages, on May 08, 2020. The Plaintiff shall serve, but not file, its

reply brief, not to exceed 20 pages, on May 22, 2020. The Defendant shall serve, but not file, its

sur-reply brief, not to exceed 10 pages, on June 05, 2020. No later than June 19, 2020, the parties

shall file a Joint Claim Construction Brief. The parties shall copy and paste their unfiled briefs into

one brief, with their positions on each claim term in sequential order, in substantially the form

below.

                              JOINT CLAIM CONSTRUCTION BRIEF

   I.      Agreed-Upon Constructions



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   II.      Disputed Constructions

            [TERM 1]

                   1.     Plaintiff’s Opening Position

                   2.     Defendant’s Answering Position

                   3.     Plaintiff’s Reply Position

                   4.     Defendant’s Sur-Reply Position

            [TERM 2]

                   1.     Plaintiff’s Opening Position

                   2.     Defendant’s Answering Position

                   3.     Plaintiff’s Reply Position

                   4.     Defendant’s Sur-Reply Position

The parties need not include any general summaries of the law relating to claim construction. If

there are any materials that would be submitted in an index, the parties shall submit them in a Joint

Appendix.

            13.    Hearing on Claim Construction.        Beginning at 10:00 a.m. on July 20, 2020

[or at another date and time convenient for the Court], the Court will hear argument on claim

construction. The parties need not include any general summaries of the law relating to claim

construction in their presentations to the Court. The parties shall notify the Court, by joint letter

submission, no later than the date on which their joint claim construction brief is filed: (i) whether

they request leave to present testimony at the hearing; and (ii) the amount of time they are

requesting be allocated to them for the hearing.

            Provided that the parties comply with all portions of this Scheduling Order, and any

other orders of the Court, the parties should anticipate that the Court will issue its claim



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construction order within sixty (60) days of the conclusion of the claim construction hearing. If

the Court is unable to meet this goal, it will advise the parties no later than sixty (60) days after the

conclusion of the claim construction hearing.

            14.    Supplementation. Absent agreement among the parties, and approval of the

Court, no later than October 21, 2020, the parties must finally supplement, inter alia, the

identification of all accused products and of all invalidity references.

            15.    Case Dispositive Motions.

                   (a)     All case dispositive motions, an opening brief, and affidavits, if any, in

support of the motion shall be served and filed on or before April 19, 2021. Briefing will be

presented pursuant to the Court’s Local Rules. No case dispositive motion under Rule 56 may be

filed more than ten (10) days before the above date without leave of the Court.

                    (b)    Concise Statement of Facts Requirement.            Any       motion       for

summary judgment shall be accompanied by a separate concise statement, not to exceed six (6)

pages, which details each material fact which the moving party contends is essential for the Court’s

resolution of the summary judgment motion (not the entire case) and as to which the moving party

contends there is no genuine issue to be tried. Each fact shall be set forth in a separate numbered

paragraph and shall be supported by specific citation(s) to the record.

                    Any party opposing the motion shall include with its opposing papers a response

to the moving party’s concise statement, not to exceed six (6) pages, which admits or disputes the

facts set forth in the moving party’s concise statement on a paragraph-by-paragraph basis. To the

extent a fact is disputed, the basis of the dispute shall be supported by specific citation(s) to the

record. Failure to respond to a fact presented in the moving party’s concise statement of facts shall

indicate that fact is not in dispute for purposes of summary judgment. The party opposing the



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motion may also include with its opposing papers a separate concise statement, not to exceed four

(4) pages, which sets forth material facts as to which the opposing party contends there is a genuine

issue to be tried. Each fact asserted by the opposing party shall also be set forth in a separate

numbered paragraph and shall be supported by specific citation(s) to the record.

                   The moving party shall include with its reply papers a response to the opposing

party’s concise statement of facts, not to exceed four (4) pages, on a paragraph-by-paragraph basis.

Failure to respond to a fact presented in the opposing party’s concise statement of facts shall

indicate that fact remains in dispute for purposes of summary judgment.

                   (c)   Page limits combined with Daubert motion page limits. Each party is

permitted to file as many case dispositive motions as desired provided, however, that each SIDE

will be limited to a combined total of 40 pages for all opening briefs, a combined total of 40 pages

for all answering briefs, and a combined total of 20 pages for all reply briefs regardless of the

number of case dispositive motions that are filed. In the event that a party files, in addition to a

case dispositive motion, a Daubert motion to exclude or preclude all or any portion of an expert’s

testimony, the total amount of pages permitted for all case dispositive and Daubert motions shall

be increased to 50 pages for all opening briefs, 50 pages for all answering briefs, and 25 pages for

all reply briefs for each SIDE. 1

            16.    Applications by Motion. Except as otherwise specified herein, any application

to the Court shall be by written motion. Any non-dispositive motion should contain the statement

required by Local Rule 7.1.1.


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  The parties must work together to ensure that the Court receives no more than a total of 250
pages (i.e., 50 + 50 + 25 regarding one side’s motions, and 50 + 50 + 25 regarding the other side’s
motions) of briefing on all case dispositive motions and Daubert motions that are covered by this
scheduling order and any other scheduling order entered in any related case that is proceeding on
a consolidated or coordinated pretrial schedule.


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            17.     Motions in Limine. Motions in limine shall not be separately filed. All in

limine requests and responses thereto shall be set forth in the proposed pretrial order. Each SIDE

shall be limited to three (3) in limine requests, unless otherwise permitted by the Court. The in

limine request and any response shall contain the authorities relied upon; each in limine request

may be supported by a maximum of three (3) pages of argument, may be opposed by a maximum

of three (3) pages of argument, and the side making the in limine request may add a maximum of

one (l) additional page in reply in support of its request. If more than one party is supporting or

opposing an in limine request, such support or opposition shall be combined in a single three

(3) page submission (and, if the moving party, a single one (1) page reply), unless otherwise ordered

by the Court. No separate briefing shall be submitted on in limine requests, unless otherwise

permitted by the Court.

            18.     Pretrial Conference. On September 08, 2021, the Court will hold a pretrial

conference in Court with counsel beginning at 10:00 a.m [or at another date and time convenient

for the Court]. Unless otherwise ordered by the Court, the parties should assume that filing the

pretrial order satisfies the pretrial disclosure requirement of Federal Rule of Civil Procedure

26(a)(3). The parties shall file with the Court the joint proposed final pretrial order in compliance

with Local Rule 16.3(c) and the Court’s Preferences and Procedures for Civil Cases not later

than seven (7) days before the pretrial conference. Unless otherwise ordered by the Court, the

parties shall comply with the timeframes set forth in Local Rule 16.3(d)(1)-(3) for the preparation

of the joint proposed final pretrial order.

            The parties shall provide the Court two (2) double-sided courtesy copies of the joint

proposed final pretrial order and all attachments. The proposed final pretrial order shall contain

a table of contents.



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            19.      Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to be

tried to a jury, pursuant to Local Rules 47.1(a)(2) and 51.1 the parties should file (i) proposed voir

dire, (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms

three (3) business days before the final pretrial conference. This submission shall be accompanied

by a courtesy copy containing electronic files of these documents, in Microsoft Word format,

which may be submitted by e-mail to mn_civil@ded.uscourts.gov.

            20.      Trial. This matter is scheduled for a 5 day trial beginning at 9:30 a.m. on

September 27, 2021 [or at another date and time convenient for the Court], with the subsequent

trial days beginning at 9:00 a.m. Until the case is submitted to the jury for deliberations, the jury

will be excused each day at 4:30 p.m. The trial will be timed, as counsel will be allocated a total

number of hours in which to present their respective cases.

            21.      Judgment on Verdict and Post-Trial Status Report. Within seven (7) days after

a jury returns a verdict in any portion of a jury trial, the parties shall jointly submit a form of order

to enter judgment on the verdict. At the same time, the parties shall submit a joint status report,

indicating among other things how the case should proceed and listing any post-trial motions each

party intends to file.

            22.      Post-Trial Motions. Unless otherwise ordered by the Court, all SIDES are

limited to a maximum of 20 pages of opening briefs, 20 pages of answering briefs, and 10 pages

of reply briefs relating to any post-trial motions filed by that side, no matter how many such

motions are filed.



                                                           UNITED STATES DISTRICT JUDGE




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                       Counsel Shall Provide a Chart of All Relevant Deadlines

                       EVENT                                     DEADLINE

                 Initial Disclosures                  21 days after the entry of this order

     Plaintiff identifies the accused product(s);
     damages model; as the asserted patent(s);            Monday, October 28, 2019
                 produce file histories


   Defendant produces core technical documents
  related to the accused product(s); produce sales       Tuesday, December 03, 2019
         figures for the accused product(s)


    Plaintiff shall produce an initial claim chart        Tuesday, January 07, 2020

      Defendant shall produce initial invalidity
                                                         Thursday, February 06, 2020
                   contentions

      Exchange of claim terms and proposed
                                                           Monday, March 09, 2020
                 constructions

     Join parties, and amend or supplement the
                                                           Monday, March 23, 2020
                      pleadings

 Plaintiff serves initial claim construction brief        Wednesday, April 08, 2020

  Defendant's response to claim construction brief           Friday, May 08, 2020

      Plaintiff's claim construction reply brief             Friday, May 22, 2020

   Defendant's sur-reply claim construction brief            Friday, June 05, 2020

           Joint claim construction brief                    Friday, June 19, 2020

   Document production substantially complete               Tuesday, June 30, 2020

                                                      10:00 a.m. on July 20, 2020 [or at
             Claim construction hearing              another date and time convenient for
                                                                  the Court]
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   Final supplement of identification of accused
                                                      Wednesday, October 21, 2020
         products and invalidity references

     Plaintiff's final infringement contentions       Wednesday, October 21, 2020

     Defendant's final invalidity contentions          Friday, November 20, 2020

              Fact discovery cut off                   Friday, November 20, 2020

       Initial disclosure of expert testimony         Monday, December 21, 2020

                  Expert rebuttal                     Wednesday, February 3, 2021

                   Expert reply                           Friday, March 5, 2021

             Expert discovery cut off                    Monday, April 5, 2021

               Dispositive motions                       Monday, April 19, 2021

                                                   Wednesday, September 8 2021 [or at
                Pretrial conference                another date and time convenient for
                                                                the Court]

                                                   Monday, September 27, 2021 [or at
                       Trial                       another date and time convenient for
                                                                the Court]
